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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:19-CR-65-REW-HAI
                                                     )
 v.                                                  )
                                                     )
 PHILLIP O’HARA                                      )                 ORDER
                                                     )
       Defendant.                                    )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 265 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Philip O’Hara’s guilty plea and adjudge him

guilty of the offenses charged in Counts One and Three of the Second Superseding Indictment (DE

266, referencing DE 72); see also DE 267 (Plea Agreement). Judge Ingram expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 266 at 3. The established, 3-day objection deadline has passed, and no party

has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 66, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate’s judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).




                                                 1
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        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 266, ACCEPTS O’Hara’s guilty plea, and ADJUDGES him

           guilty of Counts One and Three of the Second Superseding Indictment (DE 72);

        2. Further, per Judge Ingram’s recommendation (DE 266 ¶4) and Defendant’s agreement

           (DE 267 ¶ 9), the Court provisionally FINDS that O’Hara has an interest in the property

           identified in the operative indictment (DE 72 at 5 (the forfeiture enumeration)) and

           preliminarily ADJUDGES Defendant’s interest in such property FORFEITED. Under

           Criminal Rule 32.2, and absent pre-judgment objection, “the preliminary forfeiture

           order becomes final as to” Defendant at sentencing. Fed. R. Crim. P. 32.2(b)(4)(A).

           The Court will further address forfeiture at that time, see id. at (b)(4)(B), and the United

           States should address at sentencing the effect of administrative forfeiture on the scope

           of final relief; and

        3. The Court will issue a separate sentencing order.1

        This the 18th day of September, 2020.




1
 At the hearing, Judge Ingram remanded O’Hara to custody. See DE 265. The Court, thus, sees
no need to further address detention at this time.
                                                  2
